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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

M. MILKES INSURANCE AGENCY, fNL.,
on behalf of plaintiff and
the class members defined herein,

                Plaintiff,                                        t6 cY 6778

                V.                                               Judge Der-Yeghiayan

AMERILIST,INC.,
and JOHN DOES l-10

                Defendants.

                             ORDER ENTERING DEFAULT JUDGMENT

        This matter coming to be heard on prove-up hearing on damages and attorney's fees and

costs in support of Plaintiff s Motion for Entry of Default, all parties having notice and the Court

being fully advised in its premises, IT IS HEREBY ORDERED:

        Default judgment is entered against Defendant Amerilist, lnc., and in Plaintiff M. Milkes

lnsurance Agency Inc.'s favor, in the amount of $1,500.00 for Plaintiff in statutory damages, plus

$6,757 .50 in attorney's fees and $510.00 in costs of suit.

        Defendant Amerilist, lnc., is enjoined from further transmitting unsolicited facsimile

advertisements into the state of lllinois to   Plaintiff M. Milkes Insurance Agency Inc.

        Plaintiff   s   individual claims against John Does l-10 are dismissed with prejudice and

without costs, pursuant to Federal Rule of Civil Procedure 41.



Dated:   A/ f/r7
                                                  United States District Jud!'e
